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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF GEORGIA
                                ATHENS DIVISION

 IN RE:                              ) CASE NO. 19-30626-JPS
                                     )
 WILLARD STEWART LECOUNT,            ) CHAPTER 7
                                     )
       Debtor.                       )
                                     )
                                     )
 U.S. BANK TRUST NATIONAL            )
 ASSOCIATION, AS TRUSTEE OF          )
 THE LODGE SERIES III TRUST,         )
                                     )
                                     ) CONTESTED MATTER
       Movant,                       )
                                     )
 vs.                                 )
                                     )
 WILLARD STEWART LECOUNT, and        )
 JOY R. WEBSTER, Trustee,            )
                                     )
       Respondents.                  )
 ____________________________________)

                     MOTION FOR RELIEF FROM STAY
             WAIVER OF 30-DAY REQUIREMENT OF SECTION 362 (e)
          COMES NOW, U.S. Bank Trust National Association, as Trustee of the Lodge

 Series III Trust, c/o BSI Financial Services, Inc., its servicing agent ("Movant"), and
 hereby shows this Court the following:

                                            1.

          Pursuant to 11 U.S.C. Section 362(d) and Fed. R. Bankr. P. 4001, Movant seeks

 an order that terminates the automatic stay for purposes of allowing it to enforce its

 security interest in certain real property of the estate, commonly known as 5615 Center

 Hill Church Road, Loganville, GA 30052 ("Real Property") in accordance with the terms

 of a certain security deed and with applicable non-bankruptcy law.
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                                              2.

        Debtor filed the above-styled Chapter 7 on June 3, 2019, and said matter is

 pending before this Court.

                                              3.

        Movant holds a claim secured by the Real Property. True and correct copies of

 the subject loan documents (“Loan Documents”) are collectively attached hereto as

 Exhibit “A” and incorporated herein by reference.

                                              4.

        Debtor is delinquent on the subject loan for the June 2017 through and including

 June 2019 payments in the amount of $3,258.08 each.

                                              5.

        Movant is not adequately protected.

                                              6.

        Debtor appears to have little equity, if any, in the Real Property. Per Debtor's

 Schedule A, the value of the Real Property is approximately $620,000.00. The payoff on

 the subject loan as of June 7, 2019, was approximately $428,140.41, with an unpaid

 principal balance of $362,691.85. Debtor's Schedule D lists a junior lienholder, PNC

 Mortgage, with a claim in the amount of $108,660.00 that is also secured by the Real

 Property.
                                              7.

        Movant has incurred $850.00 in attorney’s fees and $181.00 costs in bringing this
 Motion and is entitled to reimbursement for same pursuant to the Loan Documents.

                                              8.
        Movant waives the 30-day requirement of Section 362 (e).

                                              9.

        Pursuant to Local Bankruptcy Rule 4001-1(a)(5) and O.C.G.A. §44-14-162.2, the

 name of the person or entity who has full authority to negotiate, amend or modify the
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 terms of the aforementioned indebtedness is Brittany Brenes, BSI Financial Services,

 7505 Irvine Center Drive, Suite 200, Irvine, CA 92618. Phone (949) 201-4287

 Ext. 56919. Email: bbrenes@bsifinancial.com.

       WHEREFORE, Movant prays that this Court, after notice and a hearing:

              a) Waive the stay set forth in FBR 4001(a)(3);
              b) Terminate the automatic stay to permit Movant to enforce its
              security interest in the Real Property in accordance with the terms
              of the Loan Documents and applicable non-bankruptcy law,
              including, but not limited to, conducting a foreclosure sale and
              seeking possession of the Real Property pursuant to the laws of the
              State of Georgia;
              c) Award $850.00 for the attorney’s fees and $181.00 costs
              incurred by Movant in bringing the Motion; and
              d) Grant such other and further relief as this Court deems just,
              necessary, and proper.
               th
       This 12 day of June, 2019.

                                                   Prepared by:
                                                   Attorney for Movant

                                                   /s/ Marc E. Ripps
                                                   Marc E. Ripps
                                                   Georgia Bar No. 606515
 P.O. Box 923533
 Norcross, Georgia 30010-3533
 (770) 448-5377
 Email: meratl@aol.com
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 JOY R. WEBSTER, Trustee,            )
                                     )
       Respondents.                  )
 ____________________________________)


                                 NOTICE OF MOTION

         Movant has filed a motion for relief from the automatic stay (“Motion”) and
 related papers with the court seeking an order for relief sought in the Motion.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents
 carefully and discuss them with your attorney, if you have one in this bankruptcy case. If
 you do not have an attorney, then you may wish to consult one. If not served with this
 notice in accordance with the Bankruptcy Code or the Federal Rules of Bankruptcy
 Procedure, a copy of the motion may be obtained upon written request to counsel for the
 Movant (identified below) or at the Clerk’s office.

        If you do not want the court to lift the automatic stay, or if you want the court to
 consider your views on the Motion, then you or your attorney must attend a hearing on
 July 23, 2019, at 2:00 p.m. in the United States Courtroom, Post Office Bldg., 115 E.
 Hancock Avenue, Athens, Georgia 30601. THE AUTOMATIC STAY SHALL
 REMAIN IN EFFECT WITH RESPECT TO MOVANT UNTIL COURT ORDER
 OTHERWISE.
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         If you or your attorney do not take these steps, then the court may decide that you
 do not oppose the relief sought in the Motion and may enter an order granting that relief.
 In the event a hearing cannot be held within thirty (30) days from the filing of the Motion
 as required by 11 U.S.C. Section 362, Movant, by and through counsel, waives this
 requirement and agrees to the next earliest possible date, as evidenced by signature
 below. If a final decision is not rendered by the court within sixty (60) days of the
 request, then Movant waives the requirement that a final decision be issued within that
 period.

        This notice is sent by the undersigned pursuant to LBR 9004-1(c)(5)(B).
                th
        This 12 day of June, 2019.

 PREPARED BY AND CONSENTED TO:
 Attorney for Movant

 /s/ Marc E. Ripps
 Marc E. Ripps
 Georgia Bar No. 606515

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 Norcross, Georgia 30010-3533
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 JOY R. WEBSTER, Trustee,            )
                                     )
       Respondents.                  )
 ____________________________________)

                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copies of the Motion for Relief from
 Stay, the Notice of Motion, and of the Notice of Assignment of Hearing were sent (1) via
 electronic notice to parties who are ECF Filers and Consenting Users, (2) via electronic
 notice to ECF Filers and Consenting Users who represent parties, and (3) via the United
 States Postal Service to all other interested parties at their addresses shown below.

 Joy R. Webster, Esq.
 Chapter 7 Trustee
 Via Electronic Notice

 Office of the United States Trustee
 Via Electronic Notice

 Andrew Monroe Adams, Esq.
 Attorney for Debtor
 Via Electronic Notice
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 Willard Stewart LeCount
 5615 Center Hill Church Road
 Loganville, GA 30052

 Melody LeCount*
 4040 Brownwood Road
 Madison, GA 30650-4468
       *Co-Borrower/Notice Only
              th
       This 12 day of June, 2019.



                                               /s/ Marc E. Ripps
                                               Marc E. Ripps
                                               Georgia Bar No. 606515
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 Norcross, GA 30010-3533
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